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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


KAREN MORALES POSADA, AMANDA
SARMENTO FERREIRA GUIMARAES,
WILLIANA ROCHA, and SARA
BARRIENTOS, individually and on behalf
of all others similarly situated,
                                                           Civil Action No. 1:20-cv-11862
                       Plaintiffs,
                                                           ORAL ARGUMENT REQUESTED
          v.

CULTURAL CARE, INC., a Massachusetts
Corporation,

                       Defendant.


  PLAINTIFFS’ MOTION TO CERTIFY A COLLECTIVE ACTION PURSUANT TO
    29 U.S.C. § 216(b) AND ISSUE NOTICE TO THE PROPOSED COLLECTIVE

       Plaintiffs Karen Morales Posada, Amanda Sarmento Ferreira Guimaraes, Williana Rocha,

and Sara Barrientos, (“Plaintiffs”), individually and on behalf of all others similarly situated,

hereby move, pursuant to 29 U.S.C. § 216(b), for an order conditionally certifying this matter as

a collective action and authorizing distribution of notice to the collective. Specifically, Plaintiffs

request certification of the following collective:

       All individuals who were sponsored by Cultural Care and worked as J-1 visa au
       pairs during any portion of the period commencing three years prior to the filing
       of this action through the entry of final judgment in this action.

Plaintiffs further request that the Court:

   1. Order Cultural Care to provide a list of all au pairs that are members of the collective,

       including each au pair’s email addresses, cell phone numbers, and dates and locations of

       employment;

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   2. Order that Cultural Care provide the information within 14 days of an Order granting this

      Motion;

   3. Authorize Plaintiffs to provide notice in form submitted to all au pairs identified by

      Cultural Care by e-mail, text message, and social media advertising;

   4. Order a 90 day opt-in period to begin on the date that the Notice is sent for each member

      of the collective to opt into the case; and

   5. Authorize a reminder notice to be sent by email and text message, 45 days into the opt-in

      period.

                           REQUEST FOR ORAL ARGUMENT

      Plaintiffs respectfully request oral argument in connection with this motion.

Dated: May 12, 2021                                     Respectfully Submitted,

                                                        By: s/Matthew C. Helland

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                            LOCAL RULE 7.1 CERTIFICATION

        I certify that Plaintiffs have complied with the provisions of Local Rule 7.1 by conferring
with counsel for Defendant on May 11, 2021. The parties were unable to agree with respect to
Plaintiff’s motion, and are thus at an impasse and require the Court’s assistance to resolve the
dispute.

Dated May 12, 2021                            s/Matthew C. Helland
                                              Matthew C. Helland




                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the NEF and paper copies will be sent
to those indicated as non-registered participants as indicated on the NEF.

Dated May 12, 2021                            s/Matthew C. Helland
                                              Matthew C. Helland




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